    Case 1:17-mc-00151-LPS Document 286 Filed 06/23/21 Page 1 of 4 PageID #: 7605




(302) 665-4425

dmason@paulweiss.com

(302) 261-7884


                                              June 23, 2021




        The Honorable Leonard P. Stark
        U.S. District Court for the District of Delaware
        844 North King Street
        Wilmington, Delaware 19801

                 Crystallex International Corp. v. Bolivarian Republic of Venezuela, et al.,
                                         C.A. No. 17-mc-151-LPS

        Dear Chief Judge Stark:

              The Intervenor Bondholders respectfully object to the proposed Special Master
        Confidentiality Order (the “Proposed Order” or “PO”) on the grounds set forth below.

                 As a threshold matter, the Intervenor Bondholders note that the Court’s order
        concerning objections referred to objections by “the Parties or ConocoPhillips.” D.I. 284.
        The Special Master Order excludes the Intervenor Bondholders from its definition of
        “Parties.” See D.I. 277, at 2 n.1; id. ¶ 11. The Intervenor Bondholders, however, do not
        understand these orders to preclude them from submitting this objection. Any such
        restriction would be incompatible with the Court’s recognition that the Intervenor
        Bondholders are parties to this action, D.I. 154, at 11, and thus have the right to be heard
        before Your Honor concerning orders that may affect them. See also Fed. R. Civ. P.
        53(f)(1) (“In acting on a master’s order, report, or recommendations, the court must give
        the parties notice and an opportunity to be heard.”).

                The Intervenor Bondholders do not seek by this objection to re-litigate the Court’s
        determination that they may not participate in “discussions with the Special Master”
        without paying a portion of the related costs. D.I. 275, at 6. But the Intervenor
        Bondholders “do not understand [their] decision [to withdraw from those discussions] as
        affecting their ability to participate in proceedings before Your Honor.” D.I. 276. The
        Intervenor Bondholders submit this objection to protect their right to meaningful
        participation in future proceedings before Your Honor.

              First, the Proposed Order appears to deny counsel of record for the Intervenor
        Bondholders access to “Confidential Information,” including Confidential Information
Case 1:17-mc-00151-LPS Document 286 Filed 06/23/21 Page 2 of 4 PageID #: 7606



   The Honorable Leonard P. Stark                                                           2


   contained in papers filed with the Court. The Proposed Order incorporates a definition of
   the term “Parties” that excludes the Intervenor Bondholders. PO 1 n.1. The Proposed
   Order, read in light of that definition, contains no provision allowing counsel for the
   Intervenor Bondholders access to Confidential Information. See PO ¶ 4. Documents that
   contain Confidential Information must be filed with the Court under seal. PO ¶¶ 2, 7.
   These provisions require the sealing of proposed orders and other documents filed by the
   Special Master that contain Confidential Information, “including the Proposed Sales
   Procedure Order.” PO ¶ 2. It is unclear whether final orders may be sealed.

           The Proposed Order should be modified to grant counsel of record for the
   Intervenor Bondholders access to Confidential Information. Counsel cannot do their job
   without access to unredacted copies of court papers. Due process entitles a party to no
   less. And if there is litigation in the district court on issues affecting the Intervenor
   Bondholders, their counsel should be entitled to seek access to discovery materials
   containing Confidential Information. The Proposed Order should not impose, as it
   currently appears to do, a categorical preemptive bar on such requests. We are not aware
   of any federal precedent for the imposition of restrictions such as those contained in the
   Proposed Order on access to purportedly confidential information by counsel for a party.

           Such restrictions are especially inappropriate in this case. The Intervenor
   Bondholders are holders of PDVSA’s 2020 Notes. D.I. 274-1, at 1-2. The 2020 Notes
   are secured by a pledge of 50.1% of the shares of CITGO Holding. Id. The Intervenor
   Bondholders thus wish to understand the structure and terms of any proposed sale of the
   attached shares of PDVH. If terms are proposed that are unfair to the holders of the 2020
   Notes, the Intervenor Bondholders wish to be in a position to draw that unfairness to the
   attention of the Court. See id. at 2.

           The Venezuela Parties have economic reasons for attacking the rights of creditors
   of PDVSA and its subsidiaries. Crystallex and ConocoPhillips also have economic
   reasons for attacking the rights of other creditors. See id. In light of these potential
   motivations, it is important that counsel for the Intervenor Bondholders be able to
   understand the terms of any proposed sale of PDVH shares. That will require access to
   unredacted court papers and may require access to additional Confidential Information.
   Of course, counsel for the Intervenor Bondholders will observe the provisions in the
   Protective Order restricting further dissemination of Confidential Information.

          Accordingly, paragraph 3(iv) of the Proposed Order should be revised to add
   outside counsel for the Intervenor Bondholders to the persons that may have access to
   Confidential Information.

          Second, the Proposed Order does not impose any limitations on the designation of
   documents or information as Confidential or Highly Confidential. That aspect of the
   Proposed Order greatly increases the prejudice to the Intervenor Bondholders arising
   from the provisions barring their counsel from access to Confidential Information. That
   aspect of the Proposed Order is also independently improper under governing law.
Case 1:17-mc-00151-LPS Document 286 Filed 06/23/21 Page 3 of 4 PageID #: 7607



   The Honorable Leonard P. Stark                                                            3


           The Proposed Order defines “Confidential Information” to include all information
   produced by the Parties or ConocoPhillips that is “related to the Special Master and his
   duties.” PO ¶ 1. Confidential Information includes all information produced pursuant to
   paragraph 9 of the Special Master Order. PO ¶ 1. That paragraph, in turn, refers to the
   production of information that may be “confidential or otherwise.” D.I. 277 ¶ 9
   (emphasis added). The Proposed Order thus appears to transmute nonconfidential
   information produced under paragraph 9 into Confidential Information.

            This approach is unwarranted by the facts and law. Any protective order entered
   in this action should apply only to Confidential Information as defined in a reasonable
   manner that is consistent with the law.1 Similarly, any protective order should contain a
   reasonable definition of Highly Confidential Information.2 The Protective Order should
   contain a procedure under which a litigant may object to unwarranted designations of
   information as Confidential or Highly Confidential. See Ex. A ¶ 8. The first sentence of
   paragraph 8 contains a purported finding of fact by the Court concerning the justification
   for affording confidential treatment to discovery materials. There is no evidentiary basis
   before the Court for any such finding at this time; that sentence should be removed.3 The
   second sentence of paragraph 8 appears to be garbled; read literally, the sentence seems
   inconsistent with paragraphs 2 and 7. It should also be removed.

           The provisions in the Proposed Order that define all information produced as
   Confidential, and that confer apparently unlimited discretion on the Venezuela Parties to
   designate information as Highly Confidential, are incompatible with standard provisions
   in protective orders and with the law. Under Rule 26(c), a party seeking confidential
   treatment must demonstrate good cause. Good cause means that “disclosure will work a
   clearly defined and serious injury” to the party opposing disclosure. And that “injury
   must be shown with specificity.” Pansy v. Borough of Stroudsburg, 23 F.3d 772, 786 (3d
   Cir. 1994) (quoting Publicker Indus., Inc. v. Cohen, 733 F.2d 1059, 1071 (3d Cir. 1984)).


   1
       Chief Magistrate Judge Thynge of this district has promulgated a Default Discovery
       Confidentiality Order that is available on the website of this Court; a copy is annexed
       as Exhibit A. Paragraphs 1 and 12 of that order, read together, contain a definition of
       Confidential Information that the Court may wish to adopt.
   2
       See Ex. A ¶ 2. The Intervenor Bondholders are unaware of any basis for withholding
       Highly Confidential Information from counsel of record for other parties. They
       therefore object to the provision establishing that restriction and effectively
       permitting ex parte evidentiary submissions. PO ¶ 10. In any event, because
       submissions of Highly Confidential Information may shape the Special Master’s
       recommendations, the Intervenor Bondholders have an interest in confining the
       category of Highly Confidential Information within reasonable limits.
   3
       Cf. Agreed Protective Order ¶ 14, Andrews v. USPI Holding Co., C.A. No. 20-CV-
       344-LPS (D. Del. June 11, 2020), D.I. 28 (copy annexed as Exhibit B).
Case 1:17-mc-00151-LPS Document 286 Filed 06/23/21 Page 4 of 4 PageID #: 7608



   The Honorable Leonard P. Stark                                                              4


            Documents filed with the Court or used in judicial proceedings in this case are
   subject to the First Amendment right of public access to civil trials. See In re Avandia
   Mktg., Sales Pracs. & Prod. Liab. Litig., 924 F.3d 662, 673-74 (3d Cir. 2019); see also
   Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 120, 124 (2d Cir. 2006). Delaware
   law requires a “public sale” of the attached shares, 8 Del. C. § 324(a), and judicially
   ordered sales are traditionally public. This case, moreover, involves a potential sale of
   some or all of the shares in the indirect parent of an extremely valuable and substantial
   U.S.-based operating company. Stakeholders in those companies have compelling
   interests in the subject matter. Commentators and journalists are following the case. It
   has been claimed that foreign-policy interests of the United States and Venezuela may be
   implicated. OFAC is involved. The First Amendment right of access, which applies here
   in light of the facts just described, manifestly does not permit the routine and blanket
   sealing contemplated by the Proposed Order. See Avandia, 924 F.3d at 673-74.

           Furthermore, in this Circuit the “filing of a document with a court ‘clearly
   establishes’ it is subject to the [common-law] right of access” to “judicial records.” In re
   Garlock Sealing Tech., 488 B.R. 281, 298 (D. Del. 2013) (quoting Goldstein v. Forbes
   (In re Cendant Corp.), 260 F.3d 183, 192 (3d Cir. 2001)); see also Avandia, 924 F.3d at
   672. “Consideration of the public’s right of access must be the starting point, not just one
   of multiple factors. The scale is tipped at the outset in favor of access. And the right of
   access is not a mere formality.” Avandia, 924 F.3d at 677. To overcome the presumption
   of access, the district court must articulate “the compelling countervailing interests to be
   protected,” make “specific findings on the record concerning the effects of disclosure,”
   and “provide[ ] an opportunity for interested third parties to be heard.” Cendant, 260
   F.3d at 194 (quoting Miller v. Ind. Hosp., 16 F.3d 549, 551 (3d Cir. 1994)). This
   demanding standard cannot be met without a “document-by-document review.” Avandia,
   924 F.3d at 677. “‘[B]road allegations of harm, bereft of specific examples or articulated
   reasoning,’ are insufficient, on their own, to establish [the] strong interest in maintaining
   confidentiality” that is needed to overcome the right of access. LEAP Sys., Inc. v.
   MoneyTrax, Inc., 638 F.3d 216, 222 (3d Cir. 2011) (quoting Cendant, 260 F.3d at 194).
   These standards also do not permit routine or blanket sealing.

           In short, this case calls for maximum disclosure of the underlying facts to litigants
   and others seeking to enforce Rule 26(c) and the First Amendment and common-law
   rights of access. The Proposed Order should be entered only if modified as described
   above.

                                               Respectfully submitted,

                                               /s/ Daniel A. Mason
                                               Daniel A. Mason (#5206)
   BY ELECTRONIC FILING

   cc: All Counsel of Record
